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                                                   October 14, 2022
   By ECF
   Hon. Diane Gujarati
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

          Re:     New Yorkers For Religious Liberty, Inc. et al. v. The City of New York et al.
                  Case No.: 22-cv-00752-DG-VMS

   Dear Judge Gujarati:
           We write jointly on behalf of all parties in this matter, in compliance with this court’s order
   that “[b]y October 14, 2022, the parties shall file a joint letter proposing a briefing schedule for
   Defendants' anticipated motion to dismiss”.

           The parties jointly propose that Defendants’ anticipated motion to dismiss be filed on or
   before the 30th day following the decision on the merits of the Second Circuit Court of Appeals of
   the Plaintiffs’ pending appeal before that court (Case No. 22-1801), unless either party shall seek
   review of such decision either from an en banc panel of the Circuit Court or from the United States
   Supreme Court, in which event the motion shall be filed within 30 days of the disposition of such
   request for review. Plaintiffs’ response to said motion shall be filed 30 days after the filing thereof
   (or the next business day if such date is not a business day); and Defendants’ reply, if any, shall be
   filed 15 days thereafter (or the next business day).

           “The filing of a notice of appeal is an event of jurisdictional significance – it confers
   jurisdiction on the court of appeals and divests the district court of its control over those aspects of
   the case involved in the appeal.” Lupo v. Human Affairs Int'l, 28 F.3d 269, 271 (2d Cir. 1994) (citing
   Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982) (internal quotation marks
   omitted)). Accordingly,

                  once a notice of appeal has been filed, a district court may take
                  actions only “in aid of the appeal or to correct clerical errors,”
                  Leonhard v. United States, 633 F.2d 599, 609-10 (2d Cir. 1980), cert.
                  denied, 451 U.S. 908, 68 L. Ed. 2d 295, 101 S. Ct. 1975 (1981), and
                  may not “adjudicate substantial rights directly involved in the
                  appeal.” Newton v. Consolidated Gas Co., 258 U.S. 165, 177, 66 L.
                  Ed. 538, 42 S. Ct. 264 (1922)[.]
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 Int’l Ass’n of Machinists & Aerospace Workers v. E. Air Lines, Inc., 847 F.2d 1014, 1017 (2d Cir.
 1988); New York State NOW v. Terry, 886 F.2d 1339, 1350 (2d Cir. 1989) (“the filing of a notice of
 appeal . . . divests the district court of jurisdiction respecting the questions raised and decided in the
 order that is on appeal”); Wilson v. Dynatone Publ’g Co., 2018 U.S. Dist. LEXIS 8122, *7 (S.D.N.Y.
 2018).

         Such is the case here. First of all, this Court already ordered a stay of discovery on August
 19, 2022 pending disposition of Plaintiffs’ appeal, upon both parties’ request. See ECF No. 108. A
 delay of further dispositive motion practice is warranted for the same reasons. Plaintiffs’ appeal
 challenges the grounds set forth in the District Court’s August 11, 2022 Order, which are the very
 same grounds on which Defendants seek to dismiss the case. Indeed, the parties intend to make
 essentially the same arguments on appeal as they have made in the district courts.

       Furthermore, in Keil v. City of New York, a similar case challenging the DOE’s vaccination
 mandate, the City requested a stay of the District Court proceedings pending plaintiffs’ appeal to the
 Second Circuit. Keil v. City of New York, 21-cv-8773, ECF. No. 37 (S.D.N.Y.) (Oct. 29, 2021 Letter
 Request for Stay). It did so because

                 [t]he Second Circuit’s ruling on plaintiffs’ appeal of the Court’s
                 decision denying plaintiffs’ Order to Show Cause for a temporary
                 restraining order may affect defendants’ approach to these cases, and
                 thus waiting to respond to the Complaints until after the Second
                 Circuit has ruled would be most efficient and just. F.R.C.P. 1.

         Similarly, the Second Circuit’s pending ruling in this matter will surely impact both parties’
 approach to this case and will promote both judicial economy and preserve the parties’ resources.
 It may even obviate Defendants’ anticipated motion to dismiss. It makes no sense to litigate issues
 at the District Court level when the same issues are being argued on appeal in the same matter by
 the same parties in the Circuit Court.

         We thank the Court for its consideration of this request.

                                 Respectfully submitted,

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